
644 S.E.2d 564 (2007)
Kevin TURNER and wife, Lara Turner
v.
Douglas E. ELLIS.
No. 537P06.
Supreme Court of North Carolina.
March 8, 2007.
George B. Hyler, Jr., Robert J. Lopez, Asheville, for Ellis.
Patrick U. Smathers, Canton, for Turner.

ORDER
Upon consideration of the petition filed on the 10th day of October 2006 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
Justice HUDSON recused.
